















		

IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1421-11






LEONEL TOMAS LAMAS, JR., Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRTEENTH COURT OF APPEALS


CAMERON COUNTY





		Per curiam.  Keasler and HERVEY, JJ., dissent.


ORDER 



		The petition for discretionary review violates Rules of Appellate Procedure
68.4(i) &amp; 68.5 because it does not contain the opinion of the court of appeals and the petition
exceeds the proper page limits.

		The petition is struck.  See Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition and copies must
be filed in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed October 19, 2011

Do not publish

	


